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Jeff P. Prostok
State Bar No. 16352500
Laurie Dahl Rea
State Bar No. 00796150
FORSHEY & PROSTOK LLP
777 Main St., Suite 1290
Fort Worth, TX 76102
Telephone: (817) 877-8855
Facsimile: (817) 877-4151
jprostok@forsheyprostok.com
lrea@forsheyprostok.com

PROPOSED ATTORNEYS FOR DEBTOR
AND DEBTOR IN POSSESSION

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


    In re:                                  §   Chapter 11
                                            §
    NEWBERRY BAKERS, INC.,                  §   Case No.: 17-44189-rfn11
                                            §
                    Debtor.                 §
                                            §

                 GLOBAL NOTES REGARDING DEBTOR’S SCHEDULES




Global Notes Regarding Debtor’s Schedules                                        Page 1
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These Global Notes (the “Global Notes”) regarding the Schedules of Newberry Bakers, Inc. (the
"Debtor") comprise an integral part of the Schedules of Assets and Liabilities and should be
referred to and considered in connection with any review of them.

The Debtor's Schedules of assets, liabilities, executory contracts and unexpired leases, and co-
debtors (collectively, the “Schedules”) have been prepared pursuant to section 521 of title 11 of
the United States Code, U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), and Rule 1007 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by personnel of the Debtor with
the assistance of its advisors. The Global Notes pertain to all of the Schedules. The Schedules are
unaudited.

The financial affairs and business of the Debtor are complex. While the Debtor’s management has
made reasonable efforts to ensure that the Schedules are accurate and complete based on
information that was available to them at the time of preparation, the subsequent receipt or
discovery of information and/or further review and analysis of the Debtor’s books and records may
result in material changes to financial data and other information contained in the Schedules.
Moreover, because the Schedules contain unaudited information, which is subject to further review
and potential adjustment, there can be no assurance that the Schedules are complete and accurate.
Furthermore, nothing contained in the Schedules shall constitute a waiver of the Debtor’s rights or
an admission with respect to this chapter 11 case, including, without limitation, any issues
involving equitable subordination and/or causes of action arising under the provisions of chapter
5 of the Bankruptcy Code and other relevant applicable laws to recover assets or avoid transfers.

Agreements Subject to Confidentiality. There may be instances within the Schedules where
names, addresses or amounts have been left blank. Due to the nature of an agreement between the
Debtor and the third party, concerns of confidentiality or concerns for the privacy of an individual,
the Debtor may have deemed it appropriate and necessary to avoid listing such names, addresses
and amounts.

Amendment. While reasonable efforts were made to file complete and accurate Schedules,
inadvertent errors or omissions may exist. The Debtor reserves all rights to amend and/or
supplement its Schedules as is necessary and appropriate.

Basis of Presentation. While the Schedules, at times, incorporate information prepared in
accordance with generally accepted accounting principles (“GAAP”), the Schedules do not purport
to represent financial information prepared in accordance with GAAP.

Causes of Action. The Debtor, despite its best efforts, may not have identified or set forth all of
its causes of action (filed or potential) as assets in its Schedules. The Debtor reserves all of its
rights with respect to any causes of action it may have and neither these Global Notes nor the
Schedules shall be deemed a waiver of any such causes of action.

Claims Description. Any failure to designate an amount on the Debtor’s Schedules as “disputed,”
“contingent” or “unliquidated” does not constitute an admission by the Debtor that such amount
is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves the right to dispute any
claim reflected on its Schedules on any grounds including, without limitation, amount, liability,
validity, priority or classification, or to otherwise subsequently designate such claims as


Global Notes Regarding Debtor’s Schedules                                                    Page 2
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“disputed,” “contingent” or “unliquidated.” The Debtor reserves its rights to object to any
scheduled claims.

Current Value of Assets. It would be prohibitively expensive, unduly burdensome and an
inefficient use of resources for the Debtor to obtain current valuations of all of its assets.
Accordingly, unless otherwise indicated, net book values, rather than current market valuations,
of the Debtor’s interests in assets are reflected on the Schedules. For this reason, amounts
ultimately realized may vary from net book value and such variance may be material. As
applicable, assets that have been fully depreciated or were expensed for accounting purposes have
no net book value.

Date. Unless otherwise indicated, the values reflected on the Schedules are as of October 13, 2017
(the “Petition Date”).

Estimates. The preparation of the Schedules required the Debtor to make certain estimates and
assumptions that affect the reported amounts of its assets and liabilities. Actual results could differ
from those estimates.

Insiders. Persons listed as “insiders” have been included for informational purposes only and
should not be construed as a legal characterization of such party as an insider and does not act as
an admission of any fact, claim, right or defense and all such rights, claims and defenses are hereby
expressly reserved. Further, the Debtor does not take any position with respect to (a) such person’s
influence over the control of the Debtor, (b) the management responsibilities or functions of such
individual, (c) the decision-making or corporate authority of such individual or (d) whether such
individual could successfully argue that he or she is not an “insider” under applicable law.

Inventory. Inventory, where applicable, is presented without consideration for any potential liens
asserted by domestic common carriers, shippers, truckers, or similar liens.

Liabilities Generally. Some of the Debtor’s scheduled liabilities are unknown and/or
unliquidated at this time. In such cases, the amounts may be listed as “Unknown” or
“Undetermined.” As a result, the Debtor’s Schedules do not accurately reflect the aggregate
amount of the Debtor’s liabilities, which may differ materially from those stated in the Schedules.

Prepetition and Postpetition Liabilities. The Debtor has sought to allocate liabilities between
prepetition and postpetition periods based on information from research that was conducted in
connection with the preparation of the Schedules. As additional information becomes available
and further research is conducted, the allocation of liabilities between prepetition and postpetition
periods may change.

Schedule D – Creditors Holding Secured Claims. The Debtor has not included on Schedule D
entities that may believe their claims are secured through setoff rights, deposits posted by or on
behalf of the Debtor, or inchoate statutory lien rights. Except as otherwise agreed pursuant to a
stipulation or agreed order or general order entered by the Bankruptcy Court, the Debtor reserves
its right to dispute or challenge, among other things, the validity, perfection or immunity from
avoidance of any lien purported to be granted or perfected in any specific asset to a creditor listed
on Schedule D. Moreover, although the Debtor may have scheduled claims of various creditors
as secured claims, the Debtor reserves all rights to dispute or challenge the secured nature of any


Global Notes Regarding Debtor’s Schedules                                                      Page 3
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such creditor’s claim or the characterization of the structure of any such transaction or any
document or instrument related to such creditor’s claim. For instance, the inclusion of a
counterparty to a lease in Schedule D is not an admission that such lease constitutes a capital lease,
and the Debtor reserves all rights to contend that the referenced agreement is, instead, an operating
lease. The descriptions provided in Schedule D are intended only to be a summary. Reference to
the applicable loan agreements and related documents is necessary for a complete description of
the collateral and the nature, extent and priority of any liens. Nothing in the Global Notes or the
Schedules shall be deemed a modification or interpretation of the terms of such agreements. The
Debtor reserves the right to dispute the tax assessed value for any of the taxable assets.

Schedule E/F – Creditors Holding Priority Claims. The Debtor reserves its rights to dispute or
challenge whether creditors listed on Schedule E/F, Part 1, are entitled to priority claims.

Schedule E/F – Creditors Holding Unsecured Nonpriority Claims. Schedule E/F does not
include certain deferred charges, deferred liabilities or general reserves. Such amounts are,
however, reflected on the Debtor’s books and records as required in accordance with GAAP. Such
accruals are general estimates of liabilities and do not represent specific claims as of the Petition
Date. The claims listed in Schedule E/F arose or were incurred on various dates. In certain
instances, the date on which a claim arose is an open issue of fact. While best efforts have been
made, determination of each date upon which each claim in Schedule E/F was incurred or arose
would be unduly burdensome and cost prohibitive and, therefore, the Debtor does not list a date
for each claim listed on Schedule E/F.

Schedule G – Executory Contracts and Unexpired Leases. The business of the Debtor is
complex. While reasonable efforts have been made to ensure the accuracy of Schedule G regarding
executory contracts and unexpired leases, inadvertent errors, omissions or overinclusion may have
occurred. The Debtor hereby reserves all of its rights to dispute the validity, status or enforceability
of any contract, agreement or lease set forth on Schedule G that may have expired or may have
been modified, amended and supplemented from time to time by various amendments,
restatements, waivers, estoppel certificates, letters and other documents, instruments, and
agreements which may not be listed on Schedule G. Certain of the leases and contracts listed on
Schedule G may contain certain renewal options, guarantees of payment, options to purchase,
rights of first refusal, and other miscellaneous rights. Such rights, powers, duties and obligations
are not set forth on Schedule G. Certain executory agreements may not have been memorialized
in writing and could be subject to dispute. In addition, the Debtor may have entered into various
other types of agreements in the ordinary course of business, such as easements, right of way,
subornation, non-disturbance, and attornment agreements, supplemental agreements,
amendment/letter agreements, title agreements and confidentially agreements. Such documents
may not be set forth on Schedule G. The Debtor reserves all of its rights to dispute or challenge
the characterization of the structure or substances of any transaction, or any document or
instrument. In the ordinary course of business, the Debtor may have entered into agreements,
written or oral, for the provision of certain services on a month-to-month or at-will basis. Such
contracts may not be included on Schedule G. The Debtor, however, reserves the right to assert
that such agreements constitute executory contracts. Listing a contract, agreement or lease on
Schedule G does not constitute an admission that such contract, agreement or lease is an executory
contract or unexpired lease or that such contract or agreement was in effect on the Petition Date or
is valid or enforceable. The Debtor reserves all rights to challenge whether any of the listed


Global Notes Regarding Debtor’s Schedules                                                       Page 4
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contracts, agreements, leases or other documents constitute an executory contract or unexpired
lease, including if any are unexpired real property leases. The Debtor reserves all rights to contend
that any of the listed leases are capital leases rather than operating leases. Any and all of the
Debtor's rights, claims and causes of action with respect to the contracts and agreements listed on
Schedule G are hereby reserved and preserved. Omission of a contract, agreement or lease from
Schedule G does not constitute an admission that such omitted contract or agreement is not an
executory contract or unexpired lease. The Debtor’s rights under the Bankruptcy Code with
respect to any such omitted contracts, agreements or leases are not impaired by the omission.
Schedule G may be amended at any time to add any omitted contract, agreement or lease. For any
executory contract or unexpired lease that purportedly may have been assigned to the Debtor, but
for which there is not documentation to support the purported assignment, neither the executory
contract nor unexpired lease (or related claim) has been included on the Schedules.

Totals. All totals that are included in the Schedules represent totals of all known amounts included
in the Debtor’s books and records at the time of the Petition Date. To the extent there are unknown
or undetermined amounts, the actual total may be different than the listed total, at times materially.

                                                ***

The Debtor and its agents, attorneys and financial advisors do not guarantee or warrant the
accuracy, completeness, or currentness of the data that is provided herein and shall not be liable
for any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communication or delivering the information contained herein. While every effort has been made
to provide accurate and complete information herein, inadvertent errors and omissions may exist.




Global Notes Regarding Debtor’s Schedules                                                     Page 5
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 Fill in this information to identify the case:


 Debtor Name Newberry Bakers, Inc.

 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF TEXAS

 Case number (if known):                17-44189-rfn11                                                                                                                                    Check if this is an
                                                                                                                                                                                           amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                 12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                                 $0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B...........................................................................................................................                        $1,736,799.86

     1c. Total of all property
         Copy line 92 from Schedule A/B.............................................................................................................................                       $1,736,799.86


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.......................................                                                   $19,036,623.43

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................                                                $0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                            +    $4,771,769.83


4.   Total liabilities
     Lines 2 + 3a + 3b.............................................................................................................................................................       $23,808,393.26




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case
 Debtor name        Newberry Bakers, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        17-44189-rfn11
 (if known)                                                                                                       Check if this is an
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                             12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:       Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.


     All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                           debtor's interest

2.   Cash on hand

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)

     Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                      account number
4.   Other cash equivalents       (Identify all)

     Name of institution (bank or brokerage firm)

5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                           $0.00


 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes. Fill in the information below.




Official Form 206A/B                               Schedule A/B: Assets -- Real and Personal Property                                          page 1
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Debtor       Newberry Bakers, Inc.                                                         Case number (if known)    17-44189-rfn11
             Name

                                                                                                                          Current value of
                                                                                                                          debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
     Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                          $0.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes. Fill in the information below.
                                                                                                                          Current value of
                                                                                                                          debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $0.00               –                 $0.00                  = ..............                     $0.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                 $0.00               –                 $0.00                  = ..............                     $0.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                          $0.00


 Part 4: Investments

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes. Fill in the information below.
                                                                                            Valuation method              Current value of
                                                                                            used for current value        debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                 % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

         Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                          $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 2
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Debtor       Newberry Bakers, Inc.                                                   Case number (if known)     17-44189-rfn11
             Name

     General description                         Date of the     Net book value of     Valuation method              Current value of
                                                 last physical   debtor's interest     used for current value        debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

     Ingredients - see attached
     Schedule A/B 19                             11/15/2017             $124,332.94 Book                                     $124,332.94
20. Work in progress

21. Finished goods, including goods held for resale

     Finished Goods - see attached
     Schedule A/B 21
     Finished Goods listed as $0.00
     because all Finished Goods were
     lost in August 2017 when
     Hurricane Harvey knocked out the
     power to the freezers holding the
     Finished Goods. The values are
     listed at what they would have
     been worth to the Debtor had they
     not been lost. There was no
     insurance coverage in place at
     the time of the loss.                       11/15/2017                    $0.00 Book                                            $0.00
22. Other inventory or supplies

     Packaging - see attached
     Schedule A/B 22                             11/15/2017             $100,112.86 Book                                     $100,112.86
23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                             $224,445.80

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes. Fill in the information below.

     General description                                         Net book value of     Valuation method              Current value of
                                                                 debtor's interest     used for current value        debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                        page 3
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Debtor       Newberry Bakers, Inc.                                                       Case number (if known)    17-44189-rfn11
             Name

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                        $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes
 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method              Current value of
                                                                    debtor's interest     used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

     Office Furniture and Fixtures
     See attached Schedule A/B 39                                           $33,566.98    Book                                    $33,566.98
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Office Equipment and Computers
     See attached Schedule A/B 41                                           $43,762.08    Book                                    $43,762.08
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                  $77,329.06

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes. Fill in the information below.


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                           page 4
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Debtor        Newberry Bakers, Inc.                                                      Case number (if known)    17-44189-rfn11
              Name

      General description                                          Net book value of      Valuation method                Current value of
      Include year, make, model, and identification numbers        debtor's interest      used for current value          debtor's interest
      (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

      Machinery and Equipment and Leasehold
      Improvements
      See attached Schedule A/B 50

      Value derived by taking the book value less the
      depreciated value                                               $1,125,025.00       Book                                  $1,125,025.00
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                $1,125,025.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes
 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                            page 5
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Debtor       Newberry Bakers, Inc.                                                       Case number (if known)     17-44189-rfn11
             Name

     General description                                           Net book value of       Valuation method              Current value of
                                                                   debtor's interest       used for current value        debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

     Website, Branding                                                    $10,000.00       Book                                    $10,000.00
62. Licenses, franchises, and royalties

     SQF Level 3 Certification                                           $300,000.00       Book                                  $300,000.00
63. Customer lists, mailing lists, or other compilations

     Customer Lists                                                        Unknown                                                       $0.00
64. Other intangibles, or intellectual property

65. Goodwill

     Goodwill                                                              Unknown                                                       $0.00
66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                 $310,000.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                         $0.00




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                           page 6
            Case 17-44189-elm7 Doc 36 Filed 11/27/17                                              Entered 11/27/17 21:00:17                              Page 13 of 101
Debtor          Newberry Bakers, Inc.                                                                           Case number (if known)       17-44189-rfn11
                Name

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                              $0.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                             $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                 $0.00

83. Investments. Copy line 17, Part 4.                                                         $0.00

84. Inventory. Copy line 23, Part 5.                                                  $224,445.80

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                          $77,329.06
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                            $1,125,025.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                            $310,000.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  +                $0.00

91. Total. Add lines 80 through 90 for each column.                    91a.        $1,736,799.86            +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................      $1,736,799.86




Official Form 206A/B                                     Schedule A/B: Assets -- Real and Personal Property                                                         page 7
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 Fill in this information to identify the case:
 Debtor name          Newberry Bakers, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          17-44189-rfn11                                                                               Check if this is an
 (if known)                                                                                                         amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more             Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                 Amount of claim        Value of collateral
                                                                                                            Do not deduct the      that supports
                                                                                                            value of collateral.   this claim

 2.1      Creditor's name                                   Describe debtor's property that is
          Aldine ISD-Tax Office                             subject to a lien                                      $52,897.95             $1,426,799.86

          Creditor's mailing address                        Personal Property
          PO Box 203989                                     Describe the lien
                                                            2016 Property Taxes
                                                            Is the creditor an insider or related party?
          Houston                    TX     77216-3989       No
          Creditor's email address, if known                 Yes
                                                            Is anyone else liable on this claim?
          Date debt was incurred          7/12/16-12/1/16    No
          Last 4 digits of account                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                                            As of the petition filing date, the claim is:
          Do multiple creditors have an interest in         Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
          
              Yes. Specify each creditor, including this       Disputed
          
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $19,036,623.43


Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
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Debtor       Newberry Bakers, Inc.                                                            Case number (if known) 17-44189-rfn11

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.2     Creditor's name                                      Describe debtor's property that is
         Creekridge Capital, LLC                              subject to a lien                                       $5,770.46                   $0.00

         Creditor's mailing address                           Equipment Lease
         7808 Creekridge Circle                               Describe the lien
                                                              Agreement
                                                              Is the creditor an insider or related party?
         Edina                      MN     55439               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred          4/10/17               No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines

 2.3     Creditor's name                                      Describe debtor's property that is
         Gulf Coast Bank and Trust                            subject to a lien                                 $1,650,000.00            $1,736,799.86

         Creditor's mailing address                           All Assets
         200 St. Charles Ave.                                 Describe the lien
                                                              Statutory Lien
                                                              Is the creditor an insider or related party?
         New Orleans                LA     70130               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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Debtor       Newberry Bakers, Inc.                                                            Case number (if known) 17-44189-rfn11

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.4     Creditor's name                                      Describe debtor's property that is
         Harris County MUD # 182                              subject to a lien                                     $17,064.10           $1,426,799.86

         Creditor's mailing address                           Personal Property
         Tax Assessor Collector Office                        Describe the lien
         PO Box 672346                                        Taxes
                                                              Is the creditor an insider or related party?
         Houston                    TX       77267-2346        No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred          11/29/16-6/7/17       No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines

 2.5     Creditor's name                                      Describe debtor's property that is
         Internal Revenue Service                             subject to a lien                                 $1,383,000.00            $1,736,799.86

         Creditor's mailing address                           All Assets
         Special Procedures - Insolvency                      Describe the lien
         PO Box 7346                                          Taxes / Statutory Lien
                                                              Is the creditor an insider or related party?
         Philadelphia               PA       19101             No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred          6/3/16-12/31/16       No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                          6    2      5   0    As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
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Debtor       Newberry Bakers, Inc.                                                            Case number (if known) 17-44189-rfn11

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.6     Creditor's name                                      Describe debtor's property that is
         Joseph H. Hegyesi                                    subject to a lien                                    $418,398.00           $1,736,799.86

         Creditor's mailing address                           All Assets
         50 Muirfield                                         Describe the lien
                                                              Statutory Lien
                                                              Is the creditor an insider or related party?
         Boerne                     TX     78006               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines

 2.7     Creditor's name                                      Describe debtor's property that is
         Joseph Ornelas                                       subject to a lien                                 $5,749,594.00            $1,736,799.86

         Creditor's mailing address                           All Assets
         713 W SW Loop                                        Describe the lien
         323 PBM 204                                          Statutory Lien
                                                              Is the creditor an insider or related party?
         Tyler                      TX     75701               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
          Case 17-44189-elm7 Doc 36 Filed 11/27/17                                  Entered 11/27/17 21:00:17                    Page 54 of 101
Debtor       Newberry Bakers, Inc.                                                            Case number (if known) 17-44189-rfn11

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.8     Creditor's name                                      Describe debtor's property that is
         Larry R. Bush                                        subject to a lien                                 $1,649,524.00            $1,736,799.86

         Creditor's mailing address                           All Assets
         17 Cypress Point                                     Describe the lien
                                                              First / Statutory Lien
                                                              Is the creditor an insider or related party?
         Boerne                     TX     78006               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines

 2.9     Creditor's name                                      Describe debtor's property that is
         Louise Rodgers                                       subject to a lien                                 $8,082,066.00            $1,736,799.86

         Creditor's mailing address                           All Assets
         25123 Atta Mira Dr.                                  Describe the lien
                                                              Statutory Lien
                                                              Is the creditor an insider or related party?
         Tyler                      TX     75701               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5
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Debtor       Newberry Bakers, Inc.                                                            Case number (if known) 17-44189-rfn11

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.10    Creditor's name                                      Describe debtor's property that is
         Mike Sullivan, Harris County                         subject to a lien                                     $28,308.92           $1,426,799.86

         Creditor's mailing address                           Personal Property
         Tax Assessor-Collector                               Describe the lien
         PO Box 4622                                          Taxes
                                                              Is the creditor an insider or related party?
         Houston                    TX     77210-4622          No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred          11/29/16-5/29/17      No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 6
          Case 17-44189-elm7 Doc 36 Filed 11/27/17                            Entered 11/27/17 21:00:17                    Page 56 of 101
Debtor       Newberry Bakers, Inc.                                                     Case number (if known) 17-44189-rfn11

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         Internal Revenue Service                                                      Line    2.5                     6    2    5      0
         V Boozer - MS 5224HNW
         12941 I-45N, Suite 316


         Houston                                      TX       77060




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 7
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 Fill in this information to identify the case:
 Debtor              Newberry Bakers, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         17-44189-rfn11                                                                           Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.

                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
           Case 17-44189-elm7 Doc 36 Filed 11/27/17                           Entered 11/27/17 21:00:17                  Page 58 of 101
Debtor         Newberry Bakers, Inc.                                                    Case number (if known)      17-44189-rfn11

 Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                    Unknown
                                                                    Check all that apply.
1-800-Flowers.com, Inc.                                              Contingent
Attn: Colleen Kearney                                                Unliquidated
One Old Country Rd., Suite 500                                       Disputed
                                                                    Basis for the claim:
Carle Place                               NY       11514            License Agreement

Date or dates debt was incurred                                     Is the claim subject to offset?

Last 4 digits of account number
                                                                     No
                                                                     Yes

     3.2   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $673.25
                                                                    Check all that apply.
3 Amigos Restaurant                                                  Contingent
20300 Franz Rd., Suite 2 #16                                         Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:
Katy                                      TX       77449            Trade Debt

Date or dates debt was incurred          4/11/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                     No
                                                                     Yes

     3.3   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $995.91
                                                                    Check all that apply.
3M                                                                   Contingent
PO Box 844127                                                        Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:
Dallas                                    TX       75284-4127       Trade Debt

Date or dates debt was incurred          1/4/17-3/14/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                     No
                                                                     Yes

     3.4   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                    $3,790.90
                                                                    Check all that apply.
A & F Texas Inc.                                                     Contingent
1439A Aldine Bender Rd.                                              Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:
Houston                                   TX       77032            Trade Debt

Date or dates debt was incurred          12/8/16-5/2/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                     No
                                                                     Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.5    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $10,304.76
                                                                Check all that apply.
Ace American Insurance Co.                                       Contingent
Special Insurance Services, Inc.                                 Unliquidated
2740 Dallas Pkwy., Suite 100                                     Disputed
                                                                Basis for the claim:
Plano                                  TX       75093           Trade Debt

Date or dates debt was incurred      4/1/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.6    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $2,205.18
                                                                Check all that apply.
Aflac Worldwide Headquarters                                     Contingent
1932 Wynnton Rd.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Columbus                               GA       31999           Insurance Premiums

Date or dates debt was incurred      4/1/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.7    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $930.00
                                                                Check all that apply.
AIB International                                                Contingent
PO Box 874739                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Kansas City                            MO       64187           Trade Debt

Date or dates debt was incurred      2/7/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.8    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                       $92.40
                                                                Check all that apply.
AIG/American General                                             Contingent
PO Box 305970                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Nashville                              TN       37230-5970      Insurance Premiums

Date or dates debt was incurred      1/20/17-5/19/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.9    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $924.53
                                                                Check all that apply.
Airgas USA, LLC                                                  Contingent
PO Box 676015                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75267-6015      Trade Debt

Date or dates debt was incurred      3/31/17-5/31/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.10    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $67,900.00
                                                                Check all that apply.
Albert Uster, Inc.                                               Contingent
PO Box 770                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Gaithersburg                           MD       20884           Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.11    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Alliance Funding Group                                           Contingent
3745 W. Chapman Ave., Suite 200                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Orange                                 CA       92868           Equipment Lease

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.12    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $195.00
                                                                Check all that apply.
Allied Produce Co., Inc.                                         Contingent
2540 Airline Dr.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77009-1194      Trade Debt

Date or dates debt was incurred      4/28/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.13    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $159,047.23
                                                                Check all that apply.
Americold Cold Storage                                           Contingent
Art Mortgage                                                     Unliquidated
PO Box 505339                                                    Disputed
                                                                Basis for the claim:
St. Louis                              MO       63150-5339      Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.14    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $6,796.08
                                                                Check all that apply.
Amero Foods Mfg. Corp.                                           Contingent
9445 Washington Blvd.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Laurel                                 MD       20723           Trade Debt

Date or dates debt was incurred      2/20/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.15    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $80,620.53
                                                                Check all that apply.
Ann Harris Bennett                                               Contingent
PO Box 4622                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77210-4622      Trade Debt

Date or dates debt was incurred      12/30/16-5/20/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.16    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $1,434.00
                                                                Check all that apply.
Arkotex, Inc.                                                    Contingent
20811 Arkotex Rd.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Siloam Springs                         AR       72761-9107      Trade Debt

Date or dates debt was incurred      2/1/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.17    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $169,246.77
                                                                Check all that apply.
Art Mortgage Borrower                                            Contingent
PO Box 505339                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
St. Louis                              MO       63150-5339      Trade Debt

Date or dates debt was incurred      2/3/17-6/19/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.18    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $240.00
                                                                Check all that apply.
ASW Corp. Div.                                                   Contingent
1501 W Angeline St.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Groesbeck                              TX       76642           Trade Debt

Date or dates debt was incurred      5/16/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.19    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $86,681.34
                                                                Check all that apply.
Bake Mark USA Houston                                            Contingent
4701 B Valley Industrial Blvd. S                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Shakoppee                              MN       55379           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.20    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $2,343.27
                                                                Check all that apply.
Bay Electric Supply Inc.                                         Contingent
PO Box 38                                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
League City                            TX       77574-0038      Trade Debt

Date or dates debt was incurred      12/6/16-3/24/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.21    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $311,396.00
                                                                Check all that apply.
Bay Oaks Lease                                                   Contingent
BOI-L, Ltd.                                                      Unliquidated
50 Muirfield                                                     Disputed
                                                                Basis for the claim:
Boerne                                 TX       78006           Notes Payable

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.22    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $208,782.00
                                                                Check all that apply.
Bay Oaks Ltd. #1                                                 Contingent
50 Muirfield                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boerne                                 TX       78006           Notes Payable

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.23    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $296,089.00
                                                                Check all that apply.
Bay Oaks Ltd. #2                                                 Contingent
50 Muirfield                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boerne                                 TX       78006           Notes Payable

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.24    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $56,012.58
                                                                Check all that apply.
Blending Solutions, LLC                                          Contingent
484 E. Carmel Dr. #255                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carmel                                 IN       46032           Trade Debt

Date or dates debt was incurred       3/31/17-4/18/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.25    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $680.76
                                                                Check all that apply.
Blue Diamond Growers                                             Contingent
1802 C St.                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Sacramento                             CA       95811           Trade Debt

Date or dates debt was incurred       1/1/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.26    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $67,680.00
                                                                Check all that apply.
BOI-L, Ltd.                                                      Contingent
50 Muirfield                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boerne                                 TX       78006           Trade Debt

Date or dates debt was incurred       2/1/17-6/1/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.27    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $214.21
                                                                Check all that apply.
Bolts 'n Nuts Plus                                               Contingent
2011 Matilda                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77032           Trade Debt

Date or dates debt was incurred       2/22/17-3/29/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.28    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $9,705.41
                                                                Check all that apply.
Brogan Enterprises, Inc.                                         Contingent
2-8 Haven Avenue #226                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Port Washington                        NY       11050           December Commission

Date or dates debt was incurred       3/8/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.29    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $36,628.20
                                                                Check all that apply.
Bunzl Houston                                                    Contingent
700 Northpark Central Dr.                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77073           Trade Debt

Date or dates debt was incurred      4/6/17-5/15/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.30    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $30,001.42
                                                                Check all that apply.
Cantrell McCulloch Incorporated                                  Contingent
12750 Merit Dr., Suite 400                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75251-1283      Trade Debt

Date or dates debt was incurred      12/22/16-12/27/16          Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.31    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $46,233.09
                                                                Check all that apply.
CBM Global                                                       Contingent
1028 Highland Lakes                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Birmingham                             AL       35242           Notes Payable

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.32    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                       $27.04
                                                                Check all that apply.
CenterPoint Energy                                               Contingent
PO Box 4981                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77210-4981      Trade Debt

Date or dates debt was incurred      6/5/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.33    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $9,526.00
                                                                Check all that apply.
Cereal Ingredients, Inc.                                         Contingent
4720 South 13th St.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Leavenworth                            KS       66048           Trade Debt

Date or dates debt was incurred      1/13/17-2/22/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.34    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $325.00
                                                                Check all that apply.
Charter Fire Protection, Inc.                                    Contingent
PO Box 4578                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pasadena                               TX       77502           Trade Debt

Date or dates debt was incurred      1/5/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.35    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $3,378.20
                                                                Check all that apply.
Chemsearch                                                       Contingent
PO Box 971269                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75397-1269      Trade Debt

Date or dates debt was incurred      1/20/17-5/20/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.36    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,821.01
                                                                Check all that apply.
Chevron and Texaco Universal Card                                Contingent
PO Box 70995                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Charlotte                              NC       28272-0995      Trade Debt

Date or dates debt was incurred      3/10/17-5/10/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.37    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $2,622.88
                                                                Check all that apply.
Cintas First Aid & Safety                                        Contingent
PO Box 631025                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cincinnati                             OH       45263-1025      Trade Debt

Date or dates debt was incurred      10/13/16-6/1/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.38    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $4,875.00
                                                                Check all that apply.
Clabber Girl                                                     Contingent
PO Box 150                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Terre Haute                           IN        47808-0150      Trade Debt

Date or dates debt was incurred      2/2/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.39    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $14,000.00
                                                                Check all that apply.
Clarence Schmittzehe                                             Contingent
2909 LaSalle St.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Monroe                                 LA       71201           Trade Debt

Date or dates debt was incurred      5/15/16-6/15/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.40    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $46,443.67
                                                                Check all that apply.
Clasen Quality Coatings, Inc.                                    Contingent
5126 West Terrace Dr.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Madison                                WI       53718           Trade Debt

Date or dates debt was incurred      3/3/17-5/5/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.41      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $397.07
                                                                Check all that apply.
Comcast                                                          Contingent
PO Box 660618                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75266-0618      Trade Debt

Date or dates debt was incurred       5/26/17                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.42      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $9,306.70
                                                                Check all that apply.
Continental Carbonic                                             Contingent
Dept CH 19860                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60055-9860      Trade Debt

Date or dates debt was incurred       2/18/17-5/12/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.43      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $98,145.01
                                                                Check all that apply.
Costa Ventures, Inc.                                             Contingent
2255 Contra Costa Blvd., Suite 305                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pleasant Hill                          CA       94523           Landlord - Lease 14151 Bldg.

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.44      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $41,026.80
                                                                Check all that apply.
Coyote Logistics                                                 Contingent
960 North Point Pkwy, Suite 150                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Alpharetta                             GA       30005           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Newberry Bakers, Inc.                                                  Case number (if known)      17-44189-rfn11

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.45    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $2,200.00
                                                                Check all that apply.
CR Pallet                                                        Contingent
9106 Kempwood Dr.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77080           Trade Debt

Date or dates debt was incurred      4/21/17-5/10/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.46    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $798.85
                                                                Check all that apply.
Crown Lift Trucks                                                Contingent
PO Box 641173                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cincinnati                             OH       45264-1173      Trade Debt

Date or dates debt was incurred      11/9/16-5/25/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.47    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $13,481.95
                                                                Check all that apply.
D.E. Shipp Belting Company                                       Contingent
123 S Industrial Dr.                                             Unliquidated
PO Box 20035                                                     Disputed
                                                                Basis for the claim:
Waco                                   TX       76702-0035      Trade Debt

Date or dates debt was incurred      11/10/16-5/31/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.48    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $933.27
                                                                Check all that apply.
DeLage Landen Financial Services                                 Contingent
PO Box 41602                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Philadelphia                           PA       19101-1602      Trade Debt

Date or dates debt was incurred      3/25/17-5/20/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.49     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $145.24
                                                                Check all that apply.
DirecTV                                                          Contingent
PO Box 60036                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Los Angeles                            CA       90060-0036      Utilities

Date or dates debt was incurred      5/26/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.50     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $6,627.16
                                                                Check all that apply.
DNV Certification Inc.                                           Contingent
PO Box 934927                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Atlanta                                GA       31193-4927      Trade Debt

Date or dates debt was incurred      2/26/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.51     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $6,652.87
                                                                Check all that apply.
Dobla Group USA, LLC                                             Contingent
1775 Breckinridge Pkwy, Suite 600                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Deluth                                 GA       30096           Trade Debt

Date or dates debt was incurred      1/4/17-3/8/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.52     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $6,420.84
                                                                Check all that apply.
Door Control Services, Inc.                                      Contingent
321 VZ County Road 4500                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Ben Wheeler                            TX       75754           Trade Debt

Date or dates debt was incurred      1/12/17-4/3/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.53    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,125.00
                                                                Check all that apply.
Eggleston & Briscoe, LLP                                         Contingent
Attorneys at Law                                                 Unliquidated
333 Clay St.                                                     Disputed
                                                                Basis for the claim:
Houston                                TX       77002           Legal Fees

Date or dates debt was incurred      8/24/16                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.54    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $2,632.53
                                                                Check all that apply.
Electric Motors Inc.                                             Contingent
11831 Aldine Westfield                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77093           Trade Debt

Date or dates debt was incurred      1/27/17-3/31/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.55    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $2,478.94
                                                                Check all that apply.
ESP Sales, LLC                                                   Contingent
20079 Stone Oak Pkwy                                             Unliquidated
Suite 1105-466                                                   Disputed
                                                                Basis for the claim:
San Antonio                            TX       78258           December Commission

Date or dates debt was incurred      3/8/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.56    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $191.07
                                                                Check all that apply.
ET Cattle, Inc.                                                  Contingent
2902 N. Illa Ave.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fresno                                 CA       93705           Trade Debt

Date or dates debt was incurred      5/24/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.57      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                       $97.35
                                                                Check all that apply.
Fastenal                                                         Contingent
PO Box 978                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Winona                                 MN       55987           Trade Debt

Date or dates debt was incurred       3/14/17                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.58      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $2,470.15
                                                                Check all that apply.
Federated Group, Inc.                                            Contingent
3025 Salt Creek Lane                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Arlington Heights                      IL       60005           Trade Debt

Date or dates debt was incurred       6/1/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.59      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $27,254.08
                                                                Check all that apply.
FedEx                                                            Contingent
PO Box 94515                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60094-4515      Trade Debt

Date or dates debt was incurred       1/23/17-6/15/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.60      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $143.27
                                                                Check all that apply.
Fire Boss, Inc.                                                  Contingent
dba Dragon Fire Systems                                          Unliquidated
7575 Charpiot Lane                                               Disputed
                                                                Basis for the claim:
Humble                                 TX       77396           Trade Debt

Date or dates debt was incurred       3/17/17                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.61    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $4,834.46
                                                                Check all that apply.
GEA of Texas, Inc.                                               Contingent
9434 Old Katy Rd., Suite 110                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77055           Trade Debt

Date or dates debt was incurred      2/6/17-4/24/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.62    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $7,622.80
                                                                Check all that apply.
General Converting, Inc.                                         Contingent
250 W. Crossroads Pkwy.                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bolingbrook                            IL       60440           Trade Debt

Date or dates debt was incurred      9/11/15-1/11/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.63    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,100.00
                                                                Check all that apply.
Gibsons Heliarc Welding                                          Contingent
506 W Nelda Rd.                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77037           Trade Debt

Date or dates debt was incurred      2/10/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.64    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $2,548.32
                                                                Check all that apply.
Golden Age Vending, Inc.                                         Contingent
2355 Minimax Dr.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77008           Trade Debt

Date or dates debt was incurred      12/22/16-4/11/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.65    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $28,387.14
                                                                Check all that apply.
Gorman Uniform                                                   Contingent
9021 Katy Freeway                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77024           Trade Debt

Date or dates debt was incurred      2/3/17-5/15/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.66    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $23,992.71
                                                                Check all that apply.
Great Southwest Paper Co. Inc.                                   Contingent
PO Box 15618                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77220           Trade Debt

Date or dates debt was incurred      3/10/17-6/16/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.67    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
GSL Welcome SUB 33, LLC                                          Contingent
Attn: Welcome Wilson/Craig Wilson                                Unliquidated
5858 Westheimer, Suite 800                                       Disputed
                                                                Basis for the claim:
Houston                                TX       77057           Lease-14149 Interdrive West

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.68    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $770.36
                                                                Check all that apply.
Guardian Repair & Parts                                          Contingent
2210 Peppermill                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77080           Trade Debt

Date or dates debt was incurred      1/9/17-5/9/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.69     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                      $453.57
                                                                Check all that apply.
Hantover, Inc.                                                   Contingent
PO Box 83152                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60691-0152      Trade Debt

Date or dates debt was incurred      1/31/17-2/3/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.70     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,578.40
                                                                Check all that apply.
Hialeah Products Company                                         Contingent
PO Box 223247                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Hollywood                              FL       33022           Trade Debt

Date or dates debt was incurred      3/27/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.71     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $64,059.57
                                                                Check all that apply.
Highland Dairy Foods                                             Contingent
PO Box 802792                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Kansas City                            MO       64180-2792      Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.72     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,405.21
                                                                Check all that apply.
Hinds-Bock                                                       Contingent
2122 222nd St., SE                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bothell                                WA       98021           Trade Debt

Date or dates debt was incurred      4/6/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.73     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                       $45.50
                                                                Check all that apply.
Hoover Container Solutions, Inc.                                 Contingent
PO Box 732866                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75373-2866      Trade Debt

Date or dates debt was incurred      4/4/17-6/1/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.74     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $70,416.00
                                                                Check all that apply.
Hudson Energy                                                    Contingent
PO Box 731137                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75373           Electric Utility

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.75     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                      $204.05
                                                                Check all that apply.
Industrial Repair Service, Inc.                                  Contingent
2650 Business Dr.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cumming                                GA       30028           Trade Debt

Date or dates debt was incurred      5/31/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.76     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,096.10
                                                                Check all that apply.
Infinite Packaging Group                                         Contingent
19014 E. Admiral Place                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Catoosa                                OK       74015           Trade Debt

Date or dates debt was incurred      2/3/17-3/24/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.77     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                       $39.82
                                                                Check all that apply.
Interbelt North Business                                         Contingent
800 W Sam Houston N                                              Unliquidated
Suite 200                                                        Disputed
                                                                Basis for the claim:
Houston                                TX       77024           Trade Debt

Date or dates debt was incurred      2/8/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.78     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $24,812.10
                                                                Check all that apply.
JJ Marshall Inc.                                                 Contingent
9780 Waverly St.                                                 Unliquidated
Montreal, QC H3L2V5                                              Disputed
                                                                Basis for the claim:
                                                                Trade Debt

Date or dates debt was incurred      2/23/17-5/9/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.79     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,478.36
                                                                Check all that apply.
John R. Ames, CTA                                                Contingent
PO Box 139066                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75313-9066      Trade Debt

Date or dates debt was incurred      9/27/16                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.80     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $17,432.06
                                                                Check all that apply.
JohnPac                                                          Contingent
PO Box 1566                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Crowley                                LA       70527-1566      Trade Debt

Date or dates debt was incurred      6/6/17-4/7/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.81    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $595,879.68
                                                                Check all that apply.
Johnson Brothers Bakery Supply                                   Contingent
10731 I.H. 35 N.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78233           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.82    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $247,514.00
                                                                Check all that apply.
Joseph Ornelas                                                   Contingent
713 W SW Loop                                                    Unliquidated
323 PBM 204                                                      Disputed
                                                                Basis for the claim:
Tyler                                  TX       75701           Notes Payable

Date or dates debt was incurred      May2004 & Jul2007          Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.83    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $150,000.00
                                                                Check all that apply.
Joseph Ornelas                                                   Contingent
713 W SW Loop                                                    Unliquidated
323 PBM 204                                                      Disputed
                                                                Basis for the claim:
Tyler                                  TX       75701           Bridge Loan

Date or dates debt was incurred      May 2017                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.84    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $32,849.64
                                                                Check all that apply.
JSO Associates, Inc.                                             Contingent
17 Maple Dr.                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Great Neck                             NY       11021           Trade Debt

Date or dates debt was incurred      2/2/17-4/3/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Newberry Bakers, Inc.                                                  Case number (if known)      17-44189-rfn11

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.85    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,127.69
                                                                Check all that apply.
LEAF                                                             Contingent
PO Box 742647                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cincinnati                             OH       45274-2647      Trade Debt

Date or dates debt was incurred      10/15/16-5/20/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.86    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Leaf Capital Funding, LLC                                        Contingent
2005 Market St., 14th Floor                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Philadelphia                           PA       19102           Equipment Lease

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.87    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $10.61
                                                                Check all that apply.
Linda Sikes                                                      Contingent
12118 Guadalupe Trail Lane                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Humble                                 TX       77346           Intuit Backup

Date or dates debt was incurred      5/31/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.88    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $478.83
                                                                Check all that apply.
Lori Feagaimaalii                                                Contingent
2902 N. Illa Ave.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fresno                                 CA       93705           Trade Debt

Date or dates debt was incurred      6/15/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.89     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $41,422.50
                                                                Check all that apply.
LTL Express, Inc.                                                Contingent
c/o Transport Financial Solutions                                Unliquidated
PO Box 845981                                                    Disputed
                                                                Basis for the claim:
Dallas                                 TX       75284-5981      Trade Debt

Date or dates debt was incurred      11/23/16-1/13/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.90     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,477.48
                                                                Check all that apply.
Matheson Tri-Gas, Inc.                                           Contingent
Dept. 3028                                                       Unliquidated
PO Box 123028                                                    Disputed
                                                                Basis for the claim:
Dallas                                 TX       75312           Trade Debt

Date or dates debt was incurred      12/6/16-5/31/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.91     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,062.50
                                                                Check all that apply.
Mavalerio                                                        Contingent
11990 North Lakeridge Pkwy.                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Ashland                                VA       23005           Trade Debt

Date or dates debt was incurred      3/13/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.92     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,403.64
                                                                Check all that apply.
McMaster-Carr                                                    Contingent
PO Box 7690                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60680-7690      Trade Debt

Date or dates debt was incurred      1/30/17-3/13/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.93    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,716.34
                                                                Check all that apply.
Mettler-Toledo Safeline, Inc.                                    Contingent
6005 Benjamin Rd.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Tampa                                  FL       33634-5145      Trade Debt

Date or dates debt was incurred      1/10/17-1/23/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.94    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $5,811.34
                                                                Check all that apply.
Meyer Laboratory, Inc.                                           Contingent
2401 W. Jefferson                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Blue Springs                           MO       64015-7298      Trade Debt

Date or dates debt was incurred      3/16/17-5/15/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.95    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $4,391.74
                                                                Check all that apply.
Mid-America Packaging                                            Contingent
4800 Miami St.                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
St. Louis                              MO       63116           Trade Debt

Date or dates debt was incurred      1/30/17-3/30/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.96    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $1,362.34
                                                                Check all that apply.
Miner Material Handling                                          Contingent
PO Box 967                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Grapevine                              TX       76099           Trade Debt

Date or dates debt was incurred      4/21/17-5/26/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.97     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                      $257.30
                                                                Check all that apply.
MPF Sales & Marketing Group, LLC                                 Contingent
Maher/Premier/Freedom/Frontier Group                             Unliquidated
PO Box 776111                                                    Disputed
                                                                Basis for the claim:
Chicago                                IL       60677-6111      Trade Debt

Date or dates debt was incurred      3/8/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.98     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,907.23
                                                                Check all that apply.
Nicol Scales                                                     Contingent
PO Box 222288                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75222-2288      Trade Debt

Date or dates debt was incurred      11/28/16-4/26/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.99     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $95,000.00
                                                                Check all that apply.
Nusrat, Inc.                                                     Contingent
3702 Aldine Mail Route                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77039           Payroll Check Cashing

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.100    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $43,186.05
                                                                Check all that apply.
Nutkao USA Inc.                                                  Contingent
7044 NC 48                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Battleboro                             NC       27809           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.101   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $556.20
                                                                Check all that apply.
Office Systems of Texas                                          Contingent
104 Lockhaven Dr.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77073           Trade Debt

Date or dates debt was incurred      3/6/17-5/5/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.102   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $2,243.37
                                                                Check all that apply.
Orkin North Houston Comm                                         Contingent
15621 Blue Ash Dr., Suite 190                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77090           Trade Debt

Date or dates debt was incurred      3/14/17-5/23/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.103   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $125,491.50
                                                                Check all that apply.
Panoramic Packaging LLC                                          Contingent
1500 North Parker Dr.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Janesville                             WI       53545           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.104   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $18,170.96
                                                                Check all that apply.
Paragon Food Group, LLC                                          Contingent
345 Rae's Creek Dr.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Greenville                             SC       29609           Trade Debt

Date or dates debt was incurred      10/31/16-3/9/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.105   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
Pawnee Leasing Corporation                                       Contingent
Attn: Sandy Carr                                                 Unliquidated
3801 Automation Way, Suite 207                                   Disputed
                                                                Basis for the claim:
Fort Collins                           CO       80525           Equipment Lease

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.106   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $77,000.00
                                                                Check all that apply.
Pete Snyder                                                      Contingent
1723 Kennington Rd.                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Encinitas                              CA       92024           Landlord - Lease 14212 Bldg.

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.107   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $735.84
                                                                Check all that apply.
Pitney Bowes Global Financial Services                           Contingent
PO Box 371887                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pittsburgh                             PA       15250-7887      Trade Debt

Date or dates debt was incurred      3/2/17-6/2/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.108   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $4,671.91
                                                                Check all that apply.
Power Supply Components                                          Contingent
3468 Yale St.                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77018           Trade Debt

Date or dates debt was incurred      12/13/16-5/30/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Newberry Bakers, Inc.                                                  Case number (if known)      17-44189-rfn11

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.109   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $242,537.64
                                                                Check all that apply.
Pratt Corrugated Holdings                                        Contingent
1800-C Sarasota Pkwy.                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Conyers                                GA       30013           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.110   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $320.00
                                                                Check all that apply.
Preferred Freezer Svs of Houston Met                             Contingent
555 Aleen St.                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77029           Trade Debt

Date or dates debt was incurred      3/15/17-6/15/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.111   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $2,480.12
                                                                Check all that apply.
Purchase Power                                                   Contingent
PO Box 371874                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pittsburgh                             PA       15250-7874      Trade Debt

Date or dates debt was incurred      1/18/17-6/7/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.112   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $225,972.92
                                                                Check all that apply.
Quality Bakery Products                                          Contingent
14330 Interdrive West                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77032           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.113   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $633.32
                                                                Check all that apply.
Reiser                                                           Contingent
725 Dedham St.                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Canton                                 MA       02021           Trade Debt

Date or dates debt was incurred      3/31/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.114   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $3,157.30
                                                                Check all that apply.
Robertet Flavors, Inc.                                           Contingent
PO Box 842883                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boston                                 MA       02284-2883      Trade Debt

Date or dates debt was incurred      4/6/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.115   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $50,000.00
                                                                Check all that apply.
Robertson Global Credit                                          Contingent
5120 Woodway Dr., Suite 9029                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77056           Financial Consultant Fee

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.116   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $671.15
                                                                Check all that apply.
Royal Cabling Techsus, Inc.                                      Contingent
1918 Ridgwood St.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77006           Trade Debt

Date or dates debt was incurred      1/23/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.117    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $2,025.00
                                                                Check all that apply.
RW Machine                                                       Contingent
PO Box 670348                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77267           Trade Debt

Date or dates debt was incurred      2/8/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.118    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $998.72
                                                                Check all that apply.
Ryder Transportation Services                                    Contingent
PO Box 96723                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60693-6723      Trade Debt

Date or dates debt was incurred      5/1/17-6/5/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.119    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $305.14
                                                                Check all that apply.
Savi Sales                                                       Contingent
230 S. Brookside Center                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Anaheim                                CA       92808-1204      Trade Debt

Date or dates debt was incurred      4/3/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.120    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $1,119.89
                                                                Check all that apply.
Schaeffer Mfg. Co.                                               Contingent
Dept. 3518                                                       Unliquidated
PO Box 790100                                                    Disputed
                                                                Basis for the claim:
St. Louis                              MO       63179-0100      Trade Debt

Date or dates debt was incurred      1/9/17-5/11/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.121    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,169.33
                                                                Check all that apply.
Securities Transfer Corp.                                        Contingent
2901 North Dallas Pkwy.                                          Unliquidated
Suite 380                                                        Disputed
                                                                Basis for the claim:
Plano                                  TX       75093-5990      Trade Debt

Date or dates debt was incurred      2/1/17-6/1/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.122    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $14,130.54
                                                                Check all that apply.
Sharon E. Conway                                                 Contingent
Attorney at Law                                                  Unliquidated
2441 High Timbers, Suite 410                                     Disputed
                                                                Basis for the claim:
The Woodlands                          TX       77380-1052      Legal Fees

Date or dates debt was incurred      3/1/17-6/1/17              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.123    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                      $820.00
                                                                Check all that apply.
Shotwell Brown & Sperry                                          Contingent
1101 Royal Ave., Suite A                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Monroe                                 LA       71201           Trade Debt

Date or dates debt was incurred      3/25/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.124    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,693.23
                                                                Check all that apply.
Silliker Laboratories of Texas                                   Contingent
3155 Payshere Circle                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60674           Trade Debt

Date or dates debt was incurred      2/28/17-6/15/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.125    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                      $600.92
                                                                Check all that apply.
Southeastern Freight Lines                                       Contingent
PO Box 100104                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Columbia                               SC       29202-3104      Trade Debt

Date or dates debt was incurred      3/8/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.126    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                      $430.78
                                                                Check all that apply.
Southland Battery Assoc. LLC                                     Contingent
6311 Antoine Dr.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77091           Trade Debt

Date or dates debt was incurred      3/29/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.127    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $19,296.00
                                                                Check all that apply.
Sr. Pepper, LLC Magaya Foods                                     Contingent
11729 Warfield St.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78216           Trade Debt

Date or dates debt was incurred      1/2/17-3/15/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.128    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,809.70
                                                                Check all that apply.
Staples Business Advantage                                       Contingent
Dept. DAL                                                        Unliquidated
PO Box 83689                                                     Disputed
                                                                Basis for the claim:
Chicago                                IL       60696-3689      Trade Debt

Date or dates debt was incurred      3/11/17-4/29/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                       page 33
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Debtor       Newberry Bakers, Inc.                                                  Case number (if known)      17-44189-rfn11

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.129    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                 $172,347.04
                                                                Check all that apply.
Sysco Foodservice Houston                                        Contingent
10710 Greens Crossing Blvd.                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77038-2716      Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.130    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $50,000.00
                                                                Check all that apply.
T G Foods, Inc.                                                  Contingent
PO Box 479330                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60647           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.131    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                    $51,425.02
                                                                Check all that apply.
Texas Egg                                                        Contingent
39486 Treasury Center                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60694-9400      Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.132    Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                      $106.00
                                                                Check all that apply.
Texas Medical Waste Disposal                                     Contingent
3819 Kimberly                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pearland                               TX       77581           Trade Debt

Date or dates debt was incurred      3/8/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor        Newberry Bakers, Inc.                                                 Case number (if known)      17-44189-rfn11

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.133     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $780.00
                                                                Check all that apply.
The Fresh Market, Inc.                                           Contingent
628 Green Valley Rd.                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Greensboro                             NC       27408           Trade Debt

Date or dates debt was incurred       3/13/17                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.134     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $10,217.85
                                                                Check all that apply.
The Loev Law Firm, PC                                            Contingent
6300 West Loop South                                             Unliquidated
Suite 280                                                        Disputed
                                                                Basis for the claim:
Bellaire                               TX       77401           Legal Fees

Date or dates debt was incurred       2/27/17                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.135     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $3,566.42
                                                                Check all that apply.
The Regian Company                                               Contingent
2600 McDonald                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Tyler                                  TX       75701           December Commission

Date or dates debt was incurred       3/8/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.136     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $30,583.87
                                                                Check all that apply.
The Warrell Corporation                                          Contingent
3036 Solutions Center                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60677-3000      Trade Debt

Date or dates debt was incurred       4/24/17                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                       page 35
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Debtor       Newberry Bakers, Inc.                                                  Case number (if known)      17-44189-rfn11

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.137   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $93,042.26
                                                                Check all that apply.
The Welcome Group                                                Contingent
5858 Westheimer, Suite 800                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77057           Landlord - Lease 14149 Bldg.

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.138   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     Unknown
                                                                Check all that apply.
TimePayment Corp.                                                Contingent
16 N.E. Executive Park #200                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Burlington                             MA       01803           Equipment Lease

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.139   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $1,384.01
                                                                Check all that apply.
Toyota Industries Commercial Finance                             Contingent
Dept. 2431                                                       Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60132-2431      Trade Debt

Date or dates debt was incurred      3/28/17-6/22/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.140   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $3,095.65
                                                                Check all that apply.
Toyotalift of Houston                                            Contingent
PO Box 733593                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75373-3593      Trade Debt

Date or dates debt was incurred      1/17/17-4/4/17             Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                       page 36
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Debtor        Newberry Bakers, Inc.                                                 Case number (if known)      17-44189-rfn11

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.141     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $36,018.94
                                                                Check all that apply.
Travelers CL & Specialty                                         Contingent
Remittance Center                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Hartford                               CT       06183-1008      Insurance Premiums

Date or dates debt was incurred       1/24/17                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.142     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $2,580.94
                                                                Check all that apply.
TWSCO                                                            Contingent
aka Praxair                                                      Unliquidated
Dept. 0812                                                       Disputed
PO Box 120812                                                   Basis for the claim:
Dallas                                 TX       75312-0812      Trade Debt

Date or dates debt was incurred       12/6/16-5/22/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.143     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $3,815.67
                                                                Check all that apply.
Uline                                                            Contingent
PO Box 88741                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60680-1741      Trade Debt

Date or dates debt was incurred       2/21/17-3/8/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.144     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $3,815.67
                                                                Check all that apply.
United Labels, LLC                                               Contingent
2950 Unity Dr. # 37451                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77237           Trade Debt

Date or dates debt was incurred       4/25/17-5/18/17           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                       page 37
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Debtor      Newberry Bakers, Inc.                                                   Case number (if known)      17-44189-rfn11

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.145   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $789.37
                                                                Check all that apply.
Verizon Wireless                                                 Contingent
PO Box 660108                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75266-0108      Mobil Phone Service

Date or dates debt was incurred      6/7/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.146   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $555.32
                                                                Check all that apply.
Vertiv Operating Co.                                             Contingent
PO Box 849089                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75284-9089      Trade Debt

Date or dates debt was incurred      1/4/17                     Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.147   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $9,944.23
                                                                Check all that apply.
Victory Packaging                                                Contingent
PO Box 844138                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75284-4138      Trade Debt

Date or dates debt was incurred      3/21/17-5/25/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.148   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $58.26
                                                                Check all that apply.
Webstaurant Store.com                                            Contingent
40 Citation Lane                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lititz                                 PA       17543           Trade Debt

Date or dates debt was incurred      12/13/16                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                      page 38
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Debtor      Newberry Bakers, Inc.                                                   Case number (if known)      17-44189-rfn11

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.149   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $1,170.24
                                                                Check all that apply.
Wes Adhesives, Inc.                                              Contingent
13810 Ambrose                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77045           Trade Debt

Date or dates debt was incurred      12/16/16-12/29/16          Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.150   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $10,168.26
                                                                Check all that apply.
Wilco-Hazelnut, LLC                                              Contingent
401 North 26th Ave.                                              Unliquidated
PO Box 626                                                       Disputed
                                                                Basis for the claim:
Cornelius                              OR       97113           Trade Debt

Date or dates debt was incurred      11/22/16                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.151   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $4,532.32
                                                                Check all that apply.
William Evans                                                    Contingent
14212 Interdrive West                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77032           Trade Debt

Date or dates debt was incurred      4/27/17-5/27/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.152   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                      $959.25
                                                                Check all that apply.
Zach's Spice Company                                             Contingent
1001 Georgia Ave.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Deer Park                              TX       77536           Trade Debt

Date or dates debt was incurred      2/11/17                    Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Newberry Bakers, Inc.                                                  Case number (if known)      17-44189-rfn11

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.153   Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $18,245.55
                                                                Check all that apply.
Zukowki, Bresenhan, Petry & Piazza, LLP                          Contingent
1177 West Loop South                                             Unliquidated
Suite 1100                                                       Disputed
                                                                Basis for the claim:
Houston                                TX       77027           Legal Fees

Date or dates debt was incurred      7/31/16-5/31/17            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor      Newberry Bakers, Inc.                                             Case number (if known)      17-44189-rfn11

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +          $4,771,769.83


5c. Total of Parts 1 and 2                                                                5c.              $4,771,769.83
    Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:
 Debtor name         Newberry Bakers, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         17-44189-rfn11                           Chapter      11                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       License Agreement                               1-800-Flowers.com, Inc.
          or lease is for and the       Contract to be REJECTED                         Attn: Colleen Kearney
          nature of the debtor's
          interest                                                                      One Old Country Rd., Suite 500

          State the term remaining
          List the contract
          number of any
                                                                                       Carle Place                         NY            11514
          government contract

2.2       State what the contract       Equipment Lease                                 Alliance Funding Group
          or lease is for and the
                                                                                        3745 W. Chapman Ave., Suite 200
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Orange                              CA            92868
          government contract

2.3       State what the contract       Commercial Lease-Real Property                  Costa Ventures, Inc.
          or lease is for and the       14151 Interdrive West, Houston, TX              Attn: William Bruegmann
          nature of the debtor's        Contract to be REJECTED
          interest                                                                      2255 Contra Costa Blvd. #305

          State the term remaining
          List the contract
          number of any
                                                                                       Pleasant Hill                       CA            94523
          government contract

2.4       State what the contract       Equipment Lease                                 Creekridge Capital Vendor Financing
          or lease is for and the       Hinds Bock "Auto Answer"                        7808 Creekridge Circle, Suite 250
          nature of the debtor's        Automatic Batter Depositor Model
          interest                      6P-08A (s/n 6920) and Used
                                        Goodway Slurry Mixer with Start Box
                                        and Holding Tank
          State the term remaining                                                     Edina                               MN            55439
          List the contract
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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Debtor       Newberry Bakers, Inc.                                                Case number (if known)   17-44189-rfn11



          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.5       State what the contract      Industrial Net Lease-Real Property       GSL WELCOME SUB 33, LLC
          or lease is for and the      14149 Interdrive West, Houston, TX       Attn: Welcome Wilson/Craig Wilson
          nature of the debtor's       Contract to be REJECTED
          interest                                                              5858 Westheimer, Suite 800

          State the term remaining
          List the contract
          number of any
                                                                                Houston                         TX        77057
          government contract

2.6       State what the contract      Equipment Lease                          Leaf Capital Funding, LLC
          or lease is for and the      Modular Cooling Room 74'x84'x12'         2005 Market St., 14th Floor
          nature of the debtor's       High
          interest                     Multidrop Twiny Probake Polin
                                       Depositor
          State the term remaining
                                                                                Philadelphia                    PA        19102
          List the contract
          number of any
          government contract

2.7       State what the contract      Lease Agreement                    Pawnee Leasing Corporation
          or lease is for and the      Foodtools Model CP-1F Full Sheet   Attn: Sandy Carr
          nature of the debtor's       Crumb Press; A5726 Shankline A27A
          interest                                                        3801 Automation Way, Suite 207
                                       Automatic L Bar Sealer; A5727
                                       Shankline T-7XL Heat Shrink Tunnel
                                       Customer Skidding for A5727 &
                                       A5726                              Fort Collins                CO                  80525
                                       Contract to be REJECTED
          State the term remaining
          List the contract
          number of any
          government contract

2.8       State what the contract      Equipment Lease                    TimePayment Corp.
          or lease is for and the      1-596KDF771014LFT-Lft Hinged Door 16 N.E. Executive Park #200
          nature of the debtor's       10' x 14' x 7' 7" Outdoor Walk-in
          interest                     Freezer with Floor and 1-96108833-
                                       Walk-In Exterior Ramp
                                       Contract to be REJECTED
          State the term remaining                                        Burlington                 MA                   01803
          List the contract
          number of any
          government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                     page 2
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 Fill in this information to identify the case:
 Debtor name         Newberry Bakers, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         17-44189-rfn11                                                                                Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Howard Anders                   3525 Interdrive West                                   Alliance Funding Group               D
                                       Number      Street
                                                                                                                                   E/F
                                                                                                                                   G

                                       Houston                        TX      77032
                                       City                           State   ZIP Code


2.2    Howard Anders                   3525 Interdrive West                                   Leaf Capital Funding,                D
                                       Number      Street                                     LLC                                  E/F
                                                                                                                                   G

                                       Houston                        TX      77032
                                       City                           State   ZIP Code


2.3    Juan Torres                     21603 Park Wind Ct.                                    Pawnee Leasing                       D
                                       Number      Street                                     Corporation                          E/F
                                                                                                                                   G

                                       Katy                           TX      77650
                                       City                           State   ZIP Code


2.4    William Evans                   14212 Interdrie West                                   Creekridge Capital, LLC              D
                                       Number      Street
                                                                                                                                   E/F
                                                                                                                                   G

                                       Houston                        TX      77032
                                       City                           State   ZIP Code


2.5    William Evans                   14212 Interdrive West                                  Pawnee Leasing                       D
                                       Number      Street                                     Corporation                          E/F
                                                                                                                                   G

                                       Houston                        TX      77032
                                       City                           State   ZIP Code




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